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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 9:19-cv-81636-XXXX

  THE HIGHLAND CONSULTING
  GROUP, INC.,

                 Plaintiff,

  vs.

  JESUS FELIX MINJARES SOULE,

                 Defendant.

  vs.

  FIDELITY BROKERAGE SERVICES LLC

              Garnishee.
  ______________________________/
              AGREED FINAL JUDGMENT ON WRIT OF GARNISHMENT TO
                      FIDELITY BROKERAGE SERVICES LLC

           This matter came before the Court on the Parties’ Joint Stipulation on the Writ of

  Garnishment to Fidelity Brokerage Services LLC.      The Court having considered the Joint

  Stipulation and having been advised of the Parties’ Agreement, it is ORDERED AND

  ADJUDGED that:

        1. Claimant, JESUS FELIX MINJARES FLORES’ Affidavit Pursuant to Florida Statutes §

           77.16, [DE 411-1 and DE 412] is deemed withdrawn.

        2. A Final Judgment is hereby entered in favor of Plaintiff, THE HIGHLAND

           CONSULTING GROUP, INC. on its Writ of Garnishment to Fidelity Brokerage Services

           LLC [DE 405].
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     3. Plaintiff, THE HIGHLAND CONSULTING GROUP, INC., shall recover from Fidelity

          Brokerage Services LLC the entire amount of the Defendant, Jesus Felix Minjares Soule’s

          Transfer on Death Individual retail brokerage account, Account No. ******9825.

     4. The Court directs Fidelity Brokerage Services LLC to remit all funds in the Defendant,

          Jesus Felix Minjares Soule’s Transfer on Death Individual retail brokerage account

          (Account No. ******9825) to the Plaintiff, THE HIGHLAND CONSULTING GROUP,

          INC.

     5. Each party shall bear its own fees and costs, except as otherwise agreed.

          DONE and ORDERED in chambers at West Palm Beach, Florida this 8th day of May,

  2023.




                                                     ____________________________________
                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE

  Copies furnished to:
  Counsel of Record
